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                                                  U.S. Department of Justice


                                                  United States Attorney
                                                  Eastern District of New York
MTK                                               271 Cadman Plaza East
F. #2016R00614                                    Brooklyn, New York 11201



                                                  February 26, 2019

By Hand and ECF

The Honorable Kiyo A. Matsumoto
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:    United States v. Martin Shkreli
                     Criminal Docket No. 17-404 (KAM)

Dear Judge Matsumoto:

              The government respectfully submits this letter in advance of the defendant
Martin Shkreli’s sentencing in the above-captioned case, which is scheduled for March 15,
2019 at 11:00 a.m. On February 15, 2018, the defendant pleaded guilty pursuant to a plea
agreement before the Honorable Steven L. Tiscione, U.S.M.J., to the sole count of an
information charging him with a currency reporting violation, in violation of 31 U.S.C. §
5324(b)(1). For the reasons set forth below, the government respectfully requests that the
Court accept the defendant’s guilty plea and impose a sentence of three years’ probation.

  I.   Background

               The Pre-Sentence Investigation Report (“PSR”) accurately sets forth the
offense conduct. On April 8, 2017, the defendant Albert Veliu received $150,000 in cash
from a DEA confidential source who represented the funds to be proceeds of narcotics
trafficking. PSR ¶ 12, 22. On April 21, 2017, the defendant provided Veliu with a check for
$135,000 in exchange for the cash provided by the confidential source. Id. at 17. Prior to
writing the check, the defendant asked Veliu to provide a fraudulent certificate of insurance
that could be used to support the illicit payment. Id. at 25. The confidential source
subsequently provided Veliu with paperwork for a company named “Temaco Electronics
Corporation.” The check provided to the confidential source was written on the account of
the defendant’s company, Alba Group Incorporated, and was payable to “Temaco
Electronics.” Id. ¶ 26. Thereafter, Veliu provided the DEA confidential source with the
check written by the defendant. Id. Despite being aware of the currency reporting
requirements, at no time after receiving the cash did the defendant file the necessary reports
with the Internal Revenue Service.
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 II.   Guidelines Calculation

              The government agrees with the Guidelines calculation set forth as follows in
the PSR:

              Base Offense Level (§ 2S1.3(a)(2))                                                 6

              Plus: Funds exceeded $95,000 (§ 2B1.1(b)(1)(E))                                +8

              Minus: Minor Role (§ 3B1.2(b))                                                 -2

              Total:                                                                         12

The Probation Department calculated that the defendant’s criminal history score is 0, and that
his criminal history category therefore is I. PSR ¶ 65. After two levels are subtracted from
the total offense level of 12 to reflect the defendant’s acceptance of responsibility, the
resulting offense level is 10. This results in an applicable Guidelines range of 6 to 12
months’ imprisonment.

III.   Analysis

               The government respectfully submits that a sentence of three years’ probation
is appropriate in light of the factors set forth in 18 U.S.C. § 3553(a). Interpreting the
Supreme Court’s decision in United States v. Booker, the Second Circuit has held that
“sentencing judges remain under a duty with respect to the Guidelines . . . to consider them,
along with the other factors listed in section 3553(a).” United States v. Crosby, 397 F.3d
103, 111 (2d Cir. 2005). “While district courts enjoy discretion following Booker, that
discretion must be informed by the § 3553(a) factors[.]” Id. at 132 (internal quotation marks
omitted). In this case, the factors set forth in 18 U.S.C. § 3553(a) weigh in favor of a
probationary sentence.

               A sentence of three years’ probation is appropriate because it reflects the
seriousness of the defendant’s crime of failing to file the required currency reports, while
also accounting for his acceptance of responsibility in pleading guilty, and his personal
history and characteristics. The defendant is a naturalized U.S. citizen who appears to come
from a supportive family. Prior to his involvement in the charged conspiracy, he had steady
legal employment that paid well, including the ownership of a successful construction
company.

                Additionally, a sentence of probation will serve the goal of both specific and
general deterrence. This prosecution itself is meaningful punishment that will likely deter
the defendant from reoffending. In addition, even a probationary sentence will serve the
goal of general deterrence because others who are tempted to participate in such criminal
activities will understand that the consequences of such conduct include a felony conviction
and its collateral consequences.


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IV.    Conclusion

              For the reasons set forth above, the government respectfully requests that the
Court sentence the defendant to three years’ probation.



                                                  Respectfully submitted,

                                                  RICHARD P. DONOGHUE
                                                  United States Attorney

                                           By:     /s/
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cc:    Brian Waller, Esq. (by ECF)
       Clerk of Court (KAM) (by ECF)




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